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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

JEREMY SAUL, M.D.                                                                   PLAINTIFF

v.                                Case No. 4:20-cv-00786-KGB

THE LINCOLN NATIONAL LIFE
INSURANCE COMPANY                                                                  DEFENDANT

                                             ORDER

       Before the Court is the parties’ joint stipulation of dismissal (Dkt. No. 31).       The

stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii). For good

cause shown, the Court adopts the stipulation of dismissal.         The action is dismissed with

prejudice, with each party to bear its own costs, attorneys’ fees, and expenses.

       It is so ordered this 24th day of June, 2022.


                                                       ________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
